            Case 5:18-cv-00243-OLG Document 62 Filed 08/12/21 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

 WILLIAM BELL,                                      §
                                                    §
      Plaintiff,
                                                    §
                                                    §
 v.                                                           CASE NO. 5:18-CV-00243-OLG
                                                    §
                                                    §
                                                    §
 PORTFOLIO RECOVERY ASSOCIATES,
                                                    §
 LLC,
                                                    §
      Defendant.                                    §

                     STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff William Bell and Defendant Portfolio

Recovery Associates, LLC, by and through their respective counsel, hereby give notice that the

above-captioned action is dismissed with prejudice, with each party to bear his or its own

attorneys’ fees and costs.

Dated: August 12, 2021

Respectfully submitted,


 By: /s/ Chris R. Miltenberger                      By: /s/ James K. Trefil
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                                                    PORTFOLIO RECOVERY ASSOCIATES, LLC

Stipulation of Dismissal
            Case 5:18-cv-00243-OLG Document 62 Filed 08/12/21 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of August 2021, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing to

all counsel record.



                                                    /s/ Chris R. Miltenberger




Stipulation of Dismissal                                                                  Page 2

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